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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

MARION COSTER, et al.,              *
                                    *
            Plaintiffs,             *
                                    *                Civil Action No. 18-CV-1995-APM
      v.                            *
                                    *
STEVEN F. SCHWAT, et al.,           *
                                    *
            Defendants,             *
                                    *
___________________________________ *

               JOINT STATUS REPORT REGARDING FACT DISCOVERY

        The parties jointly submit the below status report on fact discovery:

   1.   The parties have substantially completed written party discovery and have stipulated not to

serve any additional written party discovery requests.

   2.   The parties have not completed depositions and third party discovery. The parties agreed

to conduct the remaining depositions—including depositions of several parties—at the end of

January and the first half of February and are in the processing of scheduling those depositions.

   3.   The parties are also working to resolve disputes regarding Rule 30(b)(6) deposition topics

for UIP Companies, Inc. and Coster Realty LLC.

   4.   The close of fact discovery was January 13, 2023. On January 12, Plaintiff filed, with

Defendants’ consent, a motion to modify the scheduling order to provide additional time to

complete the remaining fact discovery. See ECF No. 83.

   5.   The parties request that the Court grant the pending consent motion to modify the

scheduling order.
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                                   Jointly submitted,


Dated: January 17, 2023            /s/Branden Lewiston
                                   Michael K. Ross (D.C. Bar No. 458573)
                                   Serine R. Consolino (D.C. Bar No. 740826)
                                   Branden Lewiston (D.C. Bar No. 252550)
                                   AEGIS LAW GROUP LLP
                                   801 Pennsylvania Avenue, N.W., Suite 740
                                   Washington, D.C. 20004
                                   Tel: (202) 737-3373
                                   Fax: (202) 735-5071
                                   mross@aegislawgroup.com
                                   sconsolino@aegislawgroup.com
                                   blewiston@aegislawgroup.com

                                   Counsel for Plaintiffs

                                   /s/ William Miller
                                   Deborah B. Baum (D.C. Bar No. 393019)
                                   William C. Miller (D.C. Bar No. 187447)
                                   PILLSBURY WINTHROP SHAW PITTMAN LLP
                                   1200 Seventeenth Street, NW
                                   Washington, DC 20036
                                   Telephone: 202.663.8000
                                   Facsimile: 202.663.8007
                                   deborah.baum@pillsburylaw.com
                                   William.c.miller@pillsburylaw.com

                                   Counsel for Defendants Steven Schwat, Peter
                                   Bonnell, Stephen Cox, Schwat Realty LLC, Bonnell
                                   Realty LLC, Cox Realty LLC, and Nominal Defendant
                                   UIP Companies, Inc.

                                   /s/ David Fensterheim
                                   David Fensterheim (D.C. Bar No. 358223)
                                   FENSTERHEIM & BEAN, P.C.
                                   1250 Connecticut Ave., N.W., Suite 700 Washington,
                                   D.C. 20036
                                   O: (202) 419-1510
                                   F: (202) 381-7770
                                   M: (202) 841-7500
                                   david@fensterheimandbean.com

                                   Counsel for Nominal Defendant UIP Companies, Inc.



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                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 17, 2023, I electronically filed the foregoing document

with the Clerk of the Court using the electronic court filing system, which will provide

notification of such filing to all counsel of record.

                                                        /s/Branden Lewiston
                                                        Branden Lewiston




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